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                                          April 25, 2025

BY CM/ECF

Honorable Jeannette A. Vargas
Daniel Patrick Moynihan United States Courthouse
500 Pearl St., Room 703
New York, NY, 10007-1312

RE: Troell, et al. v. Binance Holdings Ltd., et al., No. 1:24-cv-7136 (JAV)

Dear Judge Vargas:

        We and Holwell Shuster & Goldberg LLP represent Plaintiffs in the above-referenced
action. Plaintiffs write to apprise the Court of a recent development in Raanan, et al. v. Binance
Holdings Limited, et al., No. 24-cv-697 (JGK) (S.D.N.Y.)—a pending Anti-Terrorism Act
(“ATA”) lawsuit involving claims that Binance culpably aided-and-abetted terrorist attacks—
where Binance and Changpeng Zhao’s joint motion to dismiss was denied in a detailed written
opinion by Judge Koeltl. See 2025 WL 605594 (S.D.N.Y. Feb. 25, 2025).

       Here, all parties discussed the Raanan opinion extensively in their briefing on the pending
motions to dismiss. See, e.g., Dkt. 69 at 3, 20, 31, 33, 36-38, 42, 53-54; Dkt. 76 at 4-6; Dkt. 79 at
2, 10-11. Plaintiffs argued, for instance, that “[t]he allegations here are stronger than those
sustained in Raanan; Plaintiffs allege, in even greater detail than the complaint in Raanan, how
Binance’s willful unlawful acts enabled horrific terrorist violence.” Dkt. 69 at 3. In response,
Binance downplayed the importance of Raanan, asserting in its reply brief that Judge Koeltl’s
decision was “wrongly decided” and intimating that Judge Koeltl might reconsider his decision or
permit Binance to seek interlocutory appeal. Dkt. 76 at 5 n.5; see also Dkts. 77-78.

        On April 22, 2025, Judge Koeltl heard argument from both Zhao’s counsel and Binance’s
counsel on their joint motion for reconsideration and motion to certify interlocutory appeal—and
he denied both motions. See Tr. (attached as Exhibit A). Judge Koeltl explained that there was “no
basis for reconsideration,” as Binance “simply disagree[d] with the Court’s conclusions.” Tr. 41:3-
10. Nor was interlocutory appeal appropriate, as Binance merely “disagree[d] with the Court’s
conclusion that the amended complaint contained sufficient allegations to plead aiding and
abetting liability under [the Justice Against Sponsors of Terrorism Act] and the Supreme Court’s
decision in Twitter Inc. v. Taamneh, 598 U.S. 471 (2023).” Tr. 42:16-22. Moreover, Judge Koeltl
explained that because “[w]hether the defendants are ultimately liable for aiding and abetting under
JASTA will depend on the facts of this case as developed through discovery,” Binance and Zhao’s
proposals would only “hinder” the “ultimate termination of this litigation” by “simply delay[ing]
discovery, dispositive motions, and perhaps trial.” Tr. 43:6-13.
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       Here, Binance and Binance.US’s motions to dismiss should be denied for the reasons
explained in Judge Koeltl’s decision and in Plaintiffs’ opposition brief. See Dkt. 69.

      Thank you for your time and attention to this matter.


                                           Sincerely,



                                           Matthew J. Fisher
                                           Sparacino PLLC

                                           Counsel for Plaintiffs




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